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                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA DIVISION


BRIAN EDWARDS,                                )
                                              )
              Plaintiff,                      )
                                              )
v.                                            )       CASE NO. 7:20-CV-00003-WLS
                                              )
TIFT REGIONAL HEALTH                          )
SYSTEM, INC.,                                 )
                                              )
              Defendant.                      )


            PLAINTIFF’S RESPONSE TO DEFENDANT’S STATEMENT OF
                        UNDISPUTED MATERIAL FACTS

       COMES NOW Plaintiff Brian Edwards (“Edwards”) to respond to Defendant Tift Regional

Health System, Inc.’s (hereinafter “Tift”) Statement of Undisputed Material Facts by and through

undersigned counsel pursuant to Local Rule 56, as follows:

       1.     Tift is a not-for-profit healthcare system that serves as a regional referral center for

all of South-Central Georgia. It provides a wide range of care with more than one hundred

physicians, employing over seventeen hundred individuals, making it Tift County’s single largest

employer and health care provider. (Lori Folsom Deposition, January 28, 2021, 24:1-3, Exhibit 3,

Declaration of Lori Folsom, June 18, 2021, ¶3).

       Response: Admitted.

       2.     In 2018 and 2019, Tift’s Food and Nutrition Services (“FANS”) Department

underwent significant managerial and process changes in order to rectify departmental

inefficiencies. (Anthony Laub Deposition, March 4, 2021, 23:17-20, 24:5 – 25:19; Folsom Decl.

¶8).

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           Response: Admitted.

           3.       As part of this initiative, Tift contracted with Soriant, who provided a contractor to

act as an interim director of the department, until Tift could hire a new and permanent director. In

June of 2018, Anthony Laub began working in the Tift FANS department as the contractor

assigned to help with these various improvements and plans. (Laub Dep. 15:19-21, Exhibit 24,

20:1-14, 23:17-20, 25:3-6; Folsom Decl. ¶8).

           Response: Admitted.

           4.       Mr. Laub assisted in addressing and improving many issues facing the department,

including reducing waste and costs, realigning roles and job responsibilities, and providing

leadership and structure. (Laub Dep. 15:19-21, Exhibit 24, 23:17-20, 25:17-19, 28:14, 29:24 –

30:3; Folsom Decl. ¶8).

           Response: Admitted.

           5.       During this time, the FANS department suffered a lot of issues concerning

employee absenteeism, abandonment of positions, and position vacancies, to the point that they

were regularly short-staffed. (Kelly Fullum Deposition, February 11, 2021, 10:12-17, 35:22 – 36:3,

42:15-23, 59:16-18, 60:16-21; Steven Harper Deposition, February 11, 2021, 45:18-19, 46:21-25,

47:3-4).

           Response: Admitted.

           6.       In January of 2019, Plaintiff -- an African-American male, applied for a Food

Service Aide/Assistant1 position in the FANS department at Tift.                       (Plaintiff’s Deposition,

December 8, 2020, 19:17-18, Exhibit 3, 24:9-12, 26:6-11).

           Response: Admitted.


1
    Aide and Assistant are used interchangeable throughout depositions and exhibits.
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       7.      Plaintiff interviewed for the Food Service Aide position with Kelly Fullum and

Anthony Laub. On February 8, 2019, he was hired for the position. (Laub Dep. 64:7-65:4; Pl’s.

Dep. 26:22-23, Exhibit 5, 27:6-8, 111:1-9, 111:23 – 112:10; Fullum Dep. 65:23 – 66:1, 92:18-20).

       Response: Admitted.

       8.      In February of 2019 – at the time of Plaintiff’s interview and employment, Kelly

Fullum was the FANS Department Director for Tift. Ms. Fullum was hired in October of 2018.

During this time, Steven Harper was the Supervisor of the sanitation department with FANS and

Plaintiff’s direct supervisor. (Pl.’s Dep. 27:11-13, 33:12-17, 59:22-23, 114:13; Laub Dep. 11: 24

– 12:13, 20:1-14; Fullum Dep. 5:24 – 6:3, 6:21 – 7:1, 7:9-16, 68:12-18; Harper Dep. 9:13-16, 9:18-

25, 10:6-7, 12:22 – 13:1, 14:2-4; Folsom Decl. ¶¶ 7,8).

       Response: Admitted. However, Fullum did not actually take on the duties of the sole

Department Director until January 2019. Steve Laub continued to serve as the Interim Director

while Fullum learned the ropes. (Fullum Dep., p. 36; Laub Dep., pp. 20, 52).

       9.      Kelly Fullum made the decision to hire Plaintiff as a Food Service Assistant. (Pl.’s

Dep. 26:19-21; Folsom Decl. ¶11).

       Response: Admitted.

                                 TIFT POLICIES AND PROCEDURES

       10.     Tift is an equal opportunity employer and has a policy against discrimination,

harassment, and retaliation. Tift has a reporting policy for complaints. (Folsom Dep. 19:9, Exhibit

2 pp. 2, 11, 24:3, Exhibit 3 p.7).

       Response: Admitted.

       11.     Human resources is responsible for receiving and investigating employee

complaints, such as discrimination or harassment. Generally, when HR receives a complaint from

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an employee, it is documented, evaluated and an investigation of the complaint commences. At

the conclusion of the investigation, appropriate measures are recommended and taken, and the

investigation is concluded. (Folsom Decl. ¶5).

       Response: Admitted that is Tift’s general procedure. In this case, remedial actions were

not taken against Laub in the summer of 2018 to have him modify his behavior. (Thurston Dep.,

pp. 43-45).

       12.      Upon hire, Plaintiff underwent orientation training starting on February 11, 2019,

and lasting several days, where he was educated on and given copies of Tift policies and

procedures. Defendant’s time clock procedures were also reviewed with Plaintiff during

orientation. (Pl.’s Dep. 28:8-12; 28:25 – 29:7, Exhibit 6, 29:21-23, 30:13-17, Exhibit 8, 32:12-14;

Fullum Dep. 7-8, Exhibit 10).

       Response: Admitted.

       13.      Plaintiff signed and acknowledged receiving Tift Regional’s Employee Handbook,

where the one hundred twenty-day probationary period for new employees is outlined, as well as

the importance of attendance and punctuality. (Pl.’s Dep. 30:5-24, Ex. 8; Folsom Dep. 24:1-3, Ex.

3, pp. 9-12).

       Response: Admitted.

       14.      Tift’s Attendance and Punctuality policy in the Employee Handbook states that

regular attendance and reporting to shifts on time are extremely important to patient care, and is

an essential function of a Tift employee’s job. The policy further states that being punctual entails

being at the workstation at the start of the shift and working until the shift is over. An employee

was expected to report their tardiness or absence at least two hours prior to the start of their

scheduled shift to a supervisor. (Folsom Dep. 24:1-3, Ex. 3, p. 11).

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       Response: Admitted that the policy reads as stated.

       15.     The Conduct policy in the Employee Handbook explains the standards of behavior

that are expected of Tift employees. It also enumerates conduct that is not acceptable and may be

grounds for disciplinary action to discharge, “depending upon the facts of the particular case and

the employment history of the person involved.” (Folsom Dep. 24:1-3, Ex. 3, pp. 28-29).

       Response: Admitted that the policy reads as stated.

       16.     The improper conduct or improper work performance listed that is subject to

disciplinary action and/or termination under the Conduct policy, includes: insubordination, refusal

to complete assigned shift or walking off from the workstation without approval of an immediate

supervisor, smoking on Tift property, neglecting work, failing to remain at the employee’s work

area until the end of the shift, and excessive absenteeism or tardiness. (Folsom Dep. Ex. 3, pp. 28-

29).

       Response: Admitted that the policy reads as stated.

       17.     In the first one hundred twenty days of employment, Tift considers this period as a

trial or introductory time period. During this time period, a new Tift employee may be terminated

without documentation or additional notice, if his job performance or work habits are deficient, or

there is no immediate improvement. (Harper Dep. 62:24 – 63:1; Folsom Dep. 24:1-3, Ex. 3, pp. 9-

12, 55:1-7; Folsom Decl. ¶4).

       Response: Admitted that the policy reads as stated.

       18.     Plaintiff was aware that he would be evaluated during his trial period, in which

management would assess his job performance, punctuality, and overall interest in continuing to

work at Tift, as Tift’s expectation was for new employees to make their best effort in their new




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employment and demonstrate ability and interest in their work. (Pl.’s Dep. 27:24 – 28:4; Folsom

Dep. 24:1-3, Ex. 3, pp. 9-10; Folsom Decl. ¶4).

       Response: Admitted.

       19.     The FANS department had a “call in policy,” implemented by Ms. Fullum, in order

to combat being short-staffed. The call-in requirement for employees scheduled a call-in shift was

to call in between 8:00/8:30 a.m. to verify whether or not they needed to come in to work the shift.

Employees would be notified of their scheduled shifts from a schedule posting in the department.

(Fullum Dep. 59:16 – 60:8, 60:16-21, Harper Dep. 45:17-25, 46:1-4, 54:8 – 55:2; Pl.’s Dep. 35:4-

7, 37:16-24, 135:22-25).

       Response: Admitted.

       20.     To clock in and out of their shifts, employees would slide their timecards through

a clock box on the wall. (Pl.’s Dep. 38:2-3; Fullum Dep. 32:14-24).

       Response: Admitted.

                           PLAINTIFF’S EMPLOYMENT WITH TIFT

       21.     After completing orientation, Plaintiff was first assigned to the stockroom of the

FANS department, where he was tasked with unloading delivery trucks. (Pl.’s Dep. 33:18-20;

Harper Dep. 13:15-19).

       Response: Admitted.

       22.     Less than a week after beginning work in the stockroom, Kelly Fullum and Steven

Harper were receiving complaints from other supervisors and coworkers regarding Plaintiff’s work

ethic and policy violations within the stockroom. (Fullum Dep. 66:11 – 67:10, 79:22 – 80: 12,

110:16 – 111:8; Harper Dep. 28:11 – 29:24, 31:8-11, 35:4-6).




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       Response: Admitted that Fullum and Harper testified as such. Denied as to the accuracy

of those alleged complaints. (Edwards Dep., pp. 93-97). Edwards was never counseled for any

such alleged behavior. (Edwards Dep., pp. 93-97).

       23.     Ms. Fullum and Mr. Harper received complaints about Plaintiff not staying on task

and not completing his work or performing his job duties, Plaintiff consistently sitting at his desk

or disappearing from his workstation completely, Plaintiff taking extended breaks and returning

smelling like cigarettes, Plaintiff being tardy for multiple shifts, and Plaintiff not training or

listening to the employees assigned to train him. (Harper Dep. 28:11 – 29:24, 31:8-11, 35:4-6,

37:5-7, 42:18-23, 43:22-25, 45:8-13, 103:19-23, 104:7-16; Fullum Dep. 65:16 – 66:1, 66:11 –

67:10, 68:4-7, 93:21-23).

       Response: Denied to the extent Edwards did not stay on task or perform his duties,

disappeared to smoke or ignored people trying to train him. (Edwards Dep., pp. 53, 93-97).

       24.     By the start of his second week of employment, Plaintiff was moved to work in the

dish washing area of the FANS department, because of the complaints regarding Plaintiff’s work

and the conduct that Ms. Fullum and Mr. Harper had witnessed. They had hoped that Plaintiff

would perform better if moved to another area, so Plaintiff was assigned to train with a specific

department employee -- James Scott. But Plaintiff would not train with Mr. Scott and instead

would talk to Arthur Moore. (Pl.’s Dep. 36:19-21; Harper Dep. 13:21 – 14:1, 35:19 – 36:12).

       Response: Denied. Edwards was not given a reason for the switch in his position and had

been told he was doing a good job in the stockroom. (Edwards Dep., pp. 34-35, 95).

       25.     Ms. Fullum and Mr. Harper also witnessed Plaintiff’s poor conduct, including

sitting in another room instead of completing his duties, letting dishes pile up without washing

them, taking multiple breaks and disappearing from his workstation, and not taking direction from

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the tenured employees assigned to instruct and train him. Mr. Harper would not be able to locate

Plaintiff at the start of his shifts, because Plaintiff was either tardy or would clock in and not be

physically present within the department or his workstation. (Fullum Dep. 66:13 – 67:8, 79:22 –

80:12, 91:2 – 92:12; Harper Dep. 29:22-24, 37:5-7, 42:18-23, 43:22-25, 103:19-23, 104:7-16;

Folsom Dep. 38:11-16, 40:22-24, 55:13-15).

       Response: Admitted that Fullum and Harper testified as such. Denied as to the accuracy

of those alleged complaints. (Edwards Dep., pp. 93-97). Edwards was never counseled for any

such alleged behavior. (Edwards Dep., pp. 93-97).

       26.     During his employment with Tift, Plaintiff did not talk to Mr. Laub often, he would

usually see Anthony Laub two times a week. (Pl.’s Dep.115:16-23, 119:14-16).

       Response: Admitted.

       27.     Anthony Laub did not give Plaintiff any counseling or disciplinary actions during

Plaintiff’s employment and did not terminate employees in the FANS department. (Pl.’s Dep.

121:7-9; Laub Dep. 36:2-3, 66:13-17; Fullum Dep. 58:17-25).

       Response: Denied in part. Laub recommended the termination of three employees, and

those recommendations were approved. (Laub Dep., pp. 34-35).

       28.     On February 25, 2019, Plaintiff alleged that Mr. Laub told him he needed to “work

harder than a slave” and “outwork a Mexican.” Plaintiff explained Mr. Laub was discussing with

Plaintiff the importance of working harder and the work ethic needed to earn a supervisory role.

(Pl.’s Dep. 39:24 – 40:1. 40:23 – 41:13; 46:6-9; 55:1-13, 55:17-19).

       Response: Admitted.

       29.     Plaintiff claims that his conversation with Mr. Laub did not last long, and Mr. Laub

did not make the alleged the comment a demeaning manner. (Pl.’s Dep. 41:7-8, 60:15-18).

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       Response: Admitted.

       30.     Plaintiff had never heard Anthony Laub make any racially offensive or derogatory

comments to anyone at Tift, and Plaintiff did not tell Mr. Laub that the alleged comment was

offensive to him. (Pl.’s Dep. 55:21-25, 122:21-24).

       Response: Admitted.

       31.     During his next break after the alleged conversation with Mr. Laub on the 25th,

Plaintiff visited Human Resources (“HR”) and met with Jasmine Thurston, the HR Generalist, to

tell her about the alleged comment Anthony Laub made. Ms. Thurston documented the compliant

in order to investigate. (Pl.’s Dep. 42:1-2, 42:14-25; Folsom Dep. 34:3-11, Exhibit 4).

       Response: Admitted.

       32.     Plaintiff did not see or speak to Anthony Laub after February 25, 2019. (Pl.’s Dep.

46:19-23, 59:7-15, 76:1-2, 122:10-20).

       Response: Admitted.

       33.     Plaintiff did not follow the call-in policy when he was scheduled for his call in shift

on February 27, 2019. (Pl.’s Dep. 35:4-18, 36:7-11, 136:7-9; Fullum Dep. 70:8-12, 70:23-24,

Exhibit 22, 71:10-13, 74:6-10, 75:6-9, 82:4-5, Exhibit 11, 85:5-8; Harper Dep. 56:2-7).

       Response: Admitted; however, when Fullum spoke to him about it she did threaten him

with immediate termination. (Edwards Dep., pp. 35-36).

       34.     Plaintiff understood Defendant’s call-in policy and chose to violate it without any

explanation. (Pl.’s Dep. 35: 4-18, 21-24; 39:17-18, 136:4-6).

       Response: Admitted.

       35.     Plaintiff admitted he violated the hairnet policy in the dish area one or two times.

(Pl.’s Dep. 120:15-25).

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       Response: Admitted, but immaterial as this has never been asserted as a reason for

terminating Edwards.

       36.     During his first two weeks of employment, Plaintiff was late for his scheduled shifts

several times. (Pl.’s Dep. 39:16-23; Fullum Dep. 65:16-17, 80:4-12, 93:18-23, 110:19-22; Folsom

Dep. 38:3-14, 40:22-24; Harper Dep. 35:4-6, 42:18-23, 103:19-23, 104:7-16, 104:21-24).

       Response: Admitted.

       37.     While working in the dish area, Plaintiff worked alongside four African American

men. Most of the FANS department Assistants and cooks were African American. (Pl.’s Dep.

36:24-25; Harper Dep. 14:10-14).

       Response: Admitted, but this fact is immaterial.

       38.     There were only five Caucasian employees working in the FANS department

during Plaintiff’s employment at Tift. (Pl.’s Dep. 135:17-20).

       Response: Admitted, but this fact is immaterial.

       39.     Plaintiff does not know of anyone else at Tift who was terminated for absenteeism

or for not calling in or not showing up, Plaintiff does not know if anyone was not terminated at

Tift for failure to call in, and Plaintiff does not know if anyone else at Tift has complained about

racial comments. (Pl.’s Dep. 79:23 – 80:2-8).

       Response: Admitted that Plaintiff did not know of anyone. Denied as to the “fact”

presented. Fullum identified at least three employees that she terminated after multiple instances

of absences or no call/no shows, but only after she had followed the progressive discipline policy

in each of their cases. (Fullum Dep., pp. 37-43, 46-49).

       40.     During Ms. Fullum’s employment as the FANS director, there were other

employees who had performance issues in their first two weeks of employment, but those

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employees voluntarily resigned from their employment with Tift or were a no call/no show and

did not return to work. (Fullum Dep. 111:9-14).

       Response:      Admitted.   However, none of those employees reported a hostile work

environment to Human Resources.2

       41.     There are no other FANS employees that have demonstrated the same job

performance issues and policy violations as Plaintiff in the first two weeks of their employment.

(Folsom Decl. ¶16).

       Response: See Response to SMF No. 40.

       42.     At the time of Plaintiff’s employment and throughout the remainder of 2019, there

were fifty-nine (59) employees employed in the FANS department; sixty-six percent (66%) of

those employees were African American. (Fullum Dep. 43:7-8, Exhibit 21; Folsom Decl. ¶17).

       Response: Admitted, but immaterial.

                            PLAINTIFF’S TERMINATION FROM TIFT

       43.     Kelly Fullum made the decision to terminate Plaintiff and recommended his

termination to Alex Le, the Vice President and Chief Operating Officer. Alex Le approved Ms.

Fullum’s decision to terminate Plaintiff. (Fullum Dep. 85:9-19; Folsom Dep. 59:14-17; Folsom

Decl. ¶12).

       Response: Admitted.




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 In response to RPDs served by Edwards, Tift Regional claimed it had not received any complaints
about Laub other than the one filed by Edwards. (See RPD Response No. 9, attached as Ex. A).
Additionally, Tift Regional stated it had no documents that related to any complaint with the EEOC
filed by an employee in Edwards’ supervisory chain. (See RPD Response No. 8, attached as Ex.
A). Thus, there are no comparators that filed a claim a race discrimination against Laub or any
other of Edwards’ supervisors as Edwards had done.
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       44.     Kelly Fullum terminated Plaintiff on March 1, 2019. (Pl.’s Dep. 49:10-13, 76:22-

24; Fullum Dep. 64:7-10, 69:16-25, 72:7-9, 76:7-8, Exhibit 10, 82:4-5, Exhibit 11, 120:14-19;

Harper Dep. 64:12-16; Folsom Dep. 48:2).

       Response: Admitted that Fullum told Edwards he was terminated on March 1, 2019.

       45.     March 1, 2019 was Plaintiff’s next scheduled shift to work after his failure to call

in on the 27th. (Fullum Dep. 76:7-8, Exhibit 10, 70:23-24, Exhibit 22).

       Response: Admitted.

       46.     Plaintiff was notified by Kelly Fullum that he was terminated due to his poor work

ethic and poor work performance. (Pl.’s Dep. 43:19-20, 44:8-9, 52:18-19; Fullum Dep. 65:13 –

66:1, 67:5-10, 69:20-25, 82:4-5, Exhibit 11, 118:22-24).

       Response: Fullum did not say anything about any “poor work performance” when she

terminated him. (Edwards Dep., p. 52).

       47.     Anthony Laub was not in the office when Plaintiff was terminated and Anthony

Laub did not terminate Plaintiff. (Pl.’s Dep. 121:20-22; Fullum Dep. 58:17-25; Laub Dep. 66:8-

17).

       Response: Admitted.

       48.     Plaintiff does not believe Kelly Fullum terminated him because of his race. (Pl.’s

Dep. 76:25 – 77:2).

       Response: Admitted.

       Respectfully submitted on this 16th day of August 2021.

                                             LEGARE, ATTWOOD & WOLFE, LLC

                                                     /s/ Eleanor M. Attwood
                                                     Eleanor M. Attwood
                                                     Georgia Bar No. 514014

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                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION


BRIAN EDWARDS,                              )
                                            )
               Plaintiff,                   )
                                            )
v.                                          )        CASE NO. 7:20-CV-00003-WLS
                                            )
TIFT REGIONAL HEALTH                        )
SYSTEM, INC.,                               )
                                            )
               Defendant.                   )


                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I have filed the foregoing PLAINTIFF’S RESPONSE

TO DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS with the Clerk

of Court using the CM/ECF system which will automatically send email notification of such filing

to the following attorneys of record:

       Alyssa K. Peters
       apeters@constangy.com


                                            LEGARE, ATTWOOD & WOLFE, LLC

                                                     /s/ Eleanor M. Attwood
                                                     Eleanor M. Attwood
                                                     Georgia Bar No. 514014




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